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                Exhibit 7
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Table: ACSDT5Y2021.B05003



                          SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2021
DATASET:                      ACSDT5Y2021
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     Total population
FTP URL:                      None
API URL:                      https://api.census.gov/data/2021/acs/acs5

USER SELECTIONS
DATASETS                      American Community Survey
VINTAGES                      2021
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=American+Community+Survey+2021&g=040XX00US48&tid=ACSDT5Y2021.B05003




data.census.gov | Measuring America's People, Places, and Economy                                                                   1
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Table: ACSDT5Y2021.B05003


TABLE NOTES                   Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau's Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities, and towns and estimates of housing units for states and counties.

                              Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Technical Documentation section.

                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Source: U.S. Census Bureau, 2017‐2021 American Community Survey 5‐Year Estimates

                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see ACS Technical Documentation). The effect of nonsampling error is not represented
                              Methodological changes to citizenship edits may have affected citizenship data for those born in American Samoa. Users
                              should be aware of these changes when using 2018 data or multi‐year data containing data from 2018. For more
                              information see: American Samoa Citizenship User Note
                              The 2017‐2021 American Community Survey (ACS) data generally reflect the March 2020 Office of Management and Budget
                              (OMB) delineations of metropolitan and micropolitan statistical areas. In certain instances, the names, codes, and boundaries
                              of the principal cities shown in ACS tables may differ from the OMB delineation lists due to differences in the effective dates
                              of the geographic entities
                              Estimates of urban and rural populations, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2010 data. As a result, data for urban and rural areas from the ACS do not necessarily reflect the results of ongoing
                              urbanization




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Table: ACSDT5Y2021.B05003


                              Explanation of Symbols:‐ The estimate could not be computed because there were an insufficient number of sample
                              observations. For a ratio of medians estimate, one or both of the median estimates falls in the lowest interval or highest
                              interval of an open‐ended distribution. For a 5‐year median estimate, the margin of error associated with a median was
                              larger than the median itself.N The estimate or margin of error cannot be displayed because there were an insufficient
                              number of sample cases in the selected geographic area. (X) The estimate or margin of error is not applicable or not
                              available.median‐ The median falls in the lowest interval of an open‐ended distribution (for example "2,500‐")median+ The
                              median falls in the highest interval of an open‐ended distribution (for example "250,000+").** The margin of error could not
                              be computed because there were an insufficient number of sample observations.*** The margin of error could not be
                              computed because the median falls in the lowest interval or highest interval of an open‐ended distribution.***** A margin
                              of error is not appropriate because the corresponding estimate is controlled to an independent population or housing
                              estimate Effectively the corresponding estimate has no sampling error and the margin of error may be treated as zero

COLUMN NOTES                  None




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Table: ACSDT5Y2021.B05003


                                      Texas

  Label                               Estimate               Margin of Error
Total:                               28,862,581            *****
 Male:                               14,398,171            ±2,057
   Under 18 years:                   3,803,059             ±1,854
     Native                          3,636,102             ±4,998
     Foreign born:                   166,957               ±4,568
       Naturalized U.S. citizen      28,557                ±2,133
       Not a U.S. citizen            138,400               ±4,108
   18 years and over:                10,595,112            ±1,318
     Native                          8,297,544             ±13,522
     Foreign born:                   2,297,568             ±13,439
       Naturalized U.S. citizen      909,902               ±8,784
       Not a U.S. citizen            1,387,666             ±13,394
 Female:                             14,464,410            ±2,057
   Under 18 years:                   3,643,117             ±1,775
     Native                          3,487,063             ±4,933
     Foreign born:                   156,054               ±4,837
       Naturalized U.S. citizen      28,123                ±1,758
       Not a U.S. citizen            127,931               ±4,389
   18 years and over:                10,821,293            ±1,235
     Native                          8,537,703             ±12,558
     Foreign born:                   2,283,590             ±12,590
       Naturalized U.S. citizen      984,664               ±8,028
       Not a U.S. citizen            1,298,926             ±12,190




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Table: ACSDT5Y2021.B05003A



                SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (WHITE ALONE)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003A
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2021
DATASET:                      ACSDT5Y2021
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are White alone
FTP URL:                      None
API URL:                      https://api.census.gov/data/2021/acs/acs5

USER SELECTIONS
GEOS                          Texas
DATASETS                      ACS 5‐Year Estimates Detailed Tables

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?g=040XX00US48&d=ACS+5‐Year+Estimates+Detailed+Tables&tid=ACSDT5Y2021.B05003A




data.census.gov | Measuring America's People, Places, and Economy                                                                          1
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Table: ACSDT5Y2021.B05003A


TABLE NOTES                   Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau's Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities, and towns and estimates of housing units for states and counties.

                              Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Technical Documentation section.

                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Source: U.S. Census Bureau, 2017‐2021 American Community Survey 5‐Year Estimates

                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see ACS Technical Documentation). The effect of nonsampling error is not represented
                              Methodological changes to citizenship edits may have affected citizenship data for those born in American Samoa. Users
                              should be aware of these changes when using 2018 data or multi‐year data containing data from 2018. For more
                              information see: American Samoa Citizenship User Note
                              The Hispanic origin and race codes were updated in 2020. For more information on the Hispanic origin and race code
                              changes, please visit the American Community Survey Technical Documentation website.

                              The 2017‐2021 American Community Survey (ACS) data generally reflect the March 2020 Office of Management and Budget
                              (OMB) delineations of metropolitan and micropolitan statistical areas. In certain instances, the names, codes, and boundaries
                              of the principal cities shown in ACS tables may differ from the OMB delineation lists due to differences in the effective dates
                              of the geographic entities
                              Estimates of urban and rural populations, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2010 data. As a result, data for urban and rural areas from the ACS do not necessarily reflect the results of ongoing
                              urbanization




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Table: ACSDT5Y2021.B05003A


                              Explanation of Symbols:‐ The estimate could not be computed because there were an insufficient number of sample
                              observations. For a ratio of medians estimate, one or both of the median estimates falls in the lowest interval or highest
                              interval of an open‐ended distribution. For a 5‐year median estimate, the margin of error associated with a median was
                              larger than the median itself.N The estimate or margin of error cannot be displayed because there were an insufficient
                              number of sample cases in the selected geographic area. (X) The estimate or margin of error is not applicable or not
                              available.median‐ The median falls in the lowest interval of an open‐ended distribution (for example "2,500‐")median+ The
                              median falls in the highest interval of an open‐ended distribution (for example "250,000+").** The margin of error could not
                              be computed because there were an insufficient number of sample observations.*** The margin of error could not be
                              computed because the median falls in the lowest interval or highest interval of an open‐ended distribution.***** A margin
                              of error is not appropriate because the corresponding estimate is controlled to an independent population or housing
                              estimate Effectively the corresponding estimate has no sampling error and the margin of error may be treated as zero

COLUMN NOTES                  None




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Table: ACSDT5Y2021.B05003A


                                      Texas

  Label                               Estimate               Margin of Error
Total:                               18,566,027            ±26,849
 Male:                               9,264,961             ±15,724
   Under 18 years:                   2,305,831             ±7,989
     Native                          2,238,219             ±8,311
     Foreign born:                   67,612                ±2,672
       Naturalized U.S. citizen      9,685                 ±1,368
       Not a U.S. citizen            57,927                ±2,444
   18 years and over:                6,959,130             ±11,233
     Native                          5,954,418             ±12,437
     Foreign born:                   1,004,712             ±10,092
       Naturalized U.S. citizen      359,577               ±5,817
       Not a U.S. citizen            645,135               ±8,708
 Female:                             9,301,066             ±15,946
   Under 18 years:                   2,212,398             ±8,899
     Native                          2,149,093             ±9,402
     Foreign born:                   63,305                ±3,032
       Naturalized U.S. citizen      8,722                 ±981
       Not a U.S. citizen            54,583                ±2,797
   18 years and over:                7,088,668             ±10,433
     Native                          6,100,698             ±10,652
     Foreign born:                   987,970               ±9,135
       Naturalized U.S. citizen      389,068               ±5,252
       Not a U.S. citizen            598,902               ±8,318




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Table: ACSDT5Y2021.B05003B


    SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (BLACK OR AFRICAN AMERICAN
                                      ALONE)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003B
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2021
DATASET:                      ACSDT5Y2021
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are Black or African American alone
FTP URL:                      None
API URL:                      https://api.census.gov/data/2021/acs/acs5

USER SELECTIONS
DATASETS                      American Community Survey
VINTAGES                      2021
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=American+Community+Survey+2021&g=040XX00US48&tid=ACSDT5Y2021.B05003B




data.census.gov | Measuring America's People, Places, and Economy                                                                    1
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Table: ACSDT5Y2021.B05003B


TABLE NOTES                   Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau's Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities, and towns and estimates of housing units for states and counties.

                              Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Technical Documentation section.

                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Source: U.S. Census Bureau, 2017‐2021 American Community Survey 5‐Year Estimates

                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see ACS Technical Documentation). The effect of nonsampling error is not represented
                              Methodological changes to citizenship edits may have affected citizenship data for those born in American Samoa. Users
                              should be aware of these changes when using 2018 data or multi‐year data containing data from 2018. For more
                              information see: American Samoa Citizenship User Note
                              The Hispanic origin and race codes were updated in 2020. For more information on the Hispanic origin and race code
                              changes, please visit the American Community Survey Technical Documentation website.

                              The 2017‐2021 American Community Survey (ACS) data generally reflect the March 2020 Office of Management and Budget
                              (OMB) delineations of metropolitan and micropolitan statistical areas. In certain instances, the names, codes, and boundaries
                              of the principal cities shown in ACS tables may differ from the OMB delineation lists due to differences in the effective dates
                              of the geographic entities
                              Estimates of urban and rural populations, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2010 data. As a result, data for urban and rural areas from the ACS do not necessarily reflect the results of ongoing
                              urbanization




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Table: ACSDT5Y2021.B05003B


                              Explanation of Symbols:‐ The estimate could not be computed because there were an insufficient number of sample
                              observations. For a ratio of medians estimate, one or both of the median estimates falls in the lowest interval or highest
                              interval of an open‐ended distribution. For a 5‐year median estimate, the margin of error associated with a median was
                              larger than the median itself.N The estimate or margin of error cannot be displayed because there were an insufficient
                              number of sample cases in the selected geographic area. (X) The estimate or margin of error is not applicable or not
                              available.median‐ The median falls in the lowest interval of an open‐ended distribution (for example "2,500‐")median+ The
                              median falls in the highest interval of an open‐ended distribution (for example "250,000+").** The margin of error could not
                              be computed because there were an insufficient number of sample observations.*** The margin of error could not be
                              computed because the median falls in the lowest interval or highest interval of an open‐ended distribution.***** A margin
                              of error is not appropriate because the corresponding estimate is controlled to an independent population or housing
                              estimate Effectively the corresponding estimate has no sampling error and the margin of error may be treated as zero

COLUMN NOTES                  None




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Table: ACSDT5Y2021.B05003B


                                       Texas

  Label                                Estimate              Margin of Error
Total:                                3,499,862            ±9,929
 Male:                                1,700,862            ±5,694
   Under 18 years:                    460,414              ±4,058
     Native                           443,227              ±4,292
     Foreign born:                    17,187               ±1,544
       Naturalized U.S. citizen       3,642                ±846
       Not a U.S. citizen             13,545               ±1,460
   18 years and over:                 1,240,448            ±3,467
     Native                           1,105,150            ±5,288
     Foreign born:                    135,298              ±4,323
       Naturalized U.S. citizen       73,928               ±3,289
       Not a U.S. citizen             61,370               ±2,899
 Female:                              1,799,000            ±6,661
   Under 18 years:                    442,982              ±4,030
     Native                           426,041              ±4,639
     Foreign born:                    16,941               ±1,954
       Naturalized U.S. citizen       4,538                ±843
       Not a U.S. citizen             12,403               ±1,598
   18 years and over:                 1,356,018            ±3,858
     Native                           1,227,851            ±4,866
     Foreign born:                    128,167              ±4,091
       Naturalized U.S. citizen       68,088               ±3,116
       Not a U.S. citizen             60,079               ±2,433




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Table: ACSDT5Y2021.B05003D



                SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (ASIAN ALONE)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003D
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2021
DATASET:                      ACSDT5Y2021
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are Asian alone
FTP URL:                      None
API URL:                      https://api.census.gov/data/2021/acs/acs5

USER SELECTIONS
GEOS                          Texas
DATASETS                      ACS 5‐Year Estimates Detailed Tables

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?g=040XX00US48&d=ACS+5‐Year+Estimates+Detailed+Tables&tid=ACSDT5Y2021.B05003D




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Table: ACSDT5Y2021.B05003D


TABLE NOTES                   Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau's Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities, and towns and estimates of housing units for states and counties.

                              Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Technical Documentation section.

                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Source: U.S. Census Bureau, 2017‐2021 American Community Survey 5‐Year Estimates

                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see ACS Technical Documentation). The effect of nonsampling error is not represented
                              Methodological changes to citizenship edits may have affected citizenship data for those born in American Samoa. Users
                              should be aware of these changes when using 2018 data or multi‐year data containing data from 2018. For more
                              information see: American Samoa Citizenship User Note
                              The Hispanic origin and race codes were updated in 2020. For more information on the Hispanic origin and race code
                              changes, please visit the American Community Survey Technical Documentation website.

                              The 2017‐2021 American Community Survey (ACS) data generally reflect the March 2020 Office of Management and Budget
                              (OMB) delineations of metropolitan and micropolitan statistical areas. In certain instances, the names, codes, and boundaries
                              of the principal cities shown in ACS tables may differ from the OMB delineation lists due to differences in the effective dates
                              of the geographic entities
                              Estimates of urban and rural populations, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2010 data. As a result, data for urban and rural areas from the ACS do not necessarily reflect the results of ongoing
                              urbanization




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Table: ACSDT5Y2021.B05003D


                              Explanation of Symbols:‐ The estimate could not be computed because there were an insufficient number of sample
                              observations. For a ratio of medians estimate, one or both of the median estimates falls in the lowest interval or highest
                              interval of an open‐ended distribution. For a 5‐year median estimate, the margin of error associated with a median was
                              larger than the median itself.N The estimate or margin of error cannot be displayed because there were an insufficient
                              number of sample cases in the selected geographic area. (X) The estimate or margin of error is not applicable or not
                              available.median‐ The median falls in the lowest interval of an open‐ended distribution (for example "2,500‐")median+ The
                              median falls in the highest interval of an open‐ended distribution (for example "250,000+").** The margin of error could not
                              be computed because there were an insufficient number of sample observations.*** The margin of error could not be
                              computed because the median falls in the lowest interval or highest interval of an open‐ended distribution.***** A margin
                              of error is not appropriate because the corresponding estimate is controlled to an independent population or housing
                              estimate Effectively the corresponding estimate has no sampling error and the margin of error may be treated as zero

COLUMN NOTES                  None




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Table: ACSDT5Y2021.B05003D


                                       Texas

  Label                                Estimate              Margin of Error
Total:                                1,452,713            ±5,444
 Male:                                705,142              ±3,700
   Under 18 years:                    169,432              ±2,180
     Native                           134,084              ±2,513
     Foreign born:                    35,348               ±1,721
       Naturalized U.S. citizen       9,407                ±915
       Not a U.S. citizen             25,941               ±1,632
   18 years and over:                 535,710              ±2,491
     Native                           104,531              ±2,755
     Foreign born:                    431,179              ±3,209
       Naturalized U.S. citizen       243,372              ±3,126
       Not a U.S. citizen             187,807              ±3,319
 Female:                              747,571              ±3,339
   Under 18 years:                    166,151              ±1,987
     Native                           129,964              ±2,427
     Foreign born:                    36,187               ±1,806
       Naturalized U.S. citizen       9,011                ±876
       Not a U.S. citizen             27,176               ±1,683
   18 years and over:                 581,420              ±2,236
     Native                           98,528               ±2,576
     Foreign born:                    482,892              ±2,987
       Naturalized U.S. citizen       284,833              ±3,324
       Not a U.S. citizen             198,059              ±3,218




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Table: ACSDT5Y2021.B05003I



          SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (HISPANIC OR LATINO)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003I
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2021
DATASET:                      ACSDT5Y2021
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are Hispanic or Latino
FTP URL:                      None
API URL:                      https://api.census.gov/data/2021/acs/acs5

USER SELECTIONS
DATASETS                      American Community Survey
VINTAGES                      2021
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=American+Community+Survey+2021&g=040XX00US48&tid=ACSDT5Y2021.B05003I




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Table: ACSDT5Y2021.B05003I


TABLE NOTES                   Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau's Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities, and towns and estimates of housing units for states and counties.

                              Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Technical Documentation section.

                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Source: U.S. Census Bureau, 2017‐2021 American Community Survey 5‐Year Estimates

                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see ACS Technical Documentation). The effect of nonsampling error is not represented
                              Methodological changes to citizenship edits may have affected citizenship data for those born in American Samoa. Users
                              should be aware of these changes when using 2018 data or multi‐year data containing data from 2018. For more
                              information see: American Samoa Citizenship User Note
                              The Hispanic origin and race codes were updated in 2020. For more information on the Hispanic origin and race code
                              changes, please visit the American Community Survey Technical Documentation website.

                              The 2017‐2021 American Community Survey (ACS) data generally reflect the March 2020 Office of Management and Budget
                              (OMB) delineations of metropolitan and micropolitan statistical areas. In certain instances, the names, codes, and boundaries
                              of the principal cities shown in ACS tables may differ from the OMB delineation lists due to differences in the effective dates
                              of the geographic entities
                              Estimates of urban and rural populations, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2010 data. As a result, data for urban and rural areas from the ACS do not necessarily reflect the results of ongoing
                              urbanization




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                              Explanation of Symbols:‐ The estimate could not be computed because there were an insufficient number of sample
                              observations. For a ratio of medians estimate, one or both of the median estimates falls in the lowest interval or highest
                              interval of an open‐ended distribution. For a 5‐year median estimate, the margin of error associated with a median was
                              larger than the median itself.N The estimate or margin of error cannot be displayed because there were an insufficient
                              number of sample cases in the selected geographic area. (X) The estimate or margin of error is not applicable or not
                              available.median‐ The median falls in the lowest interval of an open‐ended distribution (for example "2,500‐")median+ The
                              median falls in the highest interval of an open‐ended distribution (for example "250,000+").** The margin of error could not
                              be computed because there were an insufficient number of sample observations.*** The margin of error could not be
                              computed because the median falls in the lowest interval or highest interval of an open‐ended distribution.***** A margin
                              of error is not appropriate because the corresponding estimate is controlled to an independent population or housing
                              estimate Effectively the corresponding estimate has no sampling error and the margin of error may be treated as zero

COLUMN NOTES                  None




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                                       Texas

  Label                                Estimate              Margin of Error
Total:                                11,479,932           *****
 Male:                                5,796,537            ±1,159
   Under 18 years:                    1,870,019            ±1,053
     Native                           1,777,615            ±3,671
     Foreign born:                    92,404               ±3,441
       Naturalized U.S. citizen       10,563               ±1,193
       Not a U.S. citizen             81,841               ±3,378
   18 years and over:                 3,926,518            ±493
     Native                           2,409,413            ±11,633
     Foreign born:                    1,517,105            ±11,601
       Naturalized U.S. citizen       476,021              ±6,632
       Not a U.S. citizen             1,041,084            ±11,889
 Female:                              5,683,395            ±1,162
   Under 18 years:                    1,796,151            ±1,068
     Native                           1,711,206            ±3,567
     Foreign born:                    84,945               ±3,548
       Naturalized U.S. citizen       11,235               ±1,046
       Not a U.S. citizen             73,710               ±3,550
   18 years and over:                 3,887,244            ±426
     Native                           2,426,416            ±10,468
     Foreign born:                    1,460,828            ±10,517
       Naturalized U.S. citizen       511,635              ±6,162
       Not a U.S. citizen             949,193              ±11,296




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